Case 18-30400-KKS Doc 40 Filed 08/23/19 Page 1 of 26

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF FLORIDA
PENSACOLA DIVISION

IN RE: CASE NO 18-30400-KKS
Chapter: 7
JAMES MICHAEL FREELAND Iil,

DEBTOR(S).
/

MOTION TO SELL REAL PROPERTY FREE AND CLEAR OF
LIENS, ENCUMBRANCES, AND INTERESTS

 

COMES NOW, Mary W. Colon, Chapter 7 Trustee (hereinafter
the “Trustee”), and moves for authority to sell improved residential
real property fee and clear of all liens, encumbrances and interest,
and in support thereof states as follows:

JURISDICTION
1. This Court has jurisdiction to consider this Motion
pursuant to 28 U.S.C. §§ 157 and 1334. This matter is a
core proceeding within the meaning of 28 U.S.C. §§

157(b)(2)(A), (M), (N), and (O).

Page 1 of 9
Case 18-30400-KKS Doc 40 Filed 08/23/19 Page 2 of 26

Venue is proper before this Court pursuant to 28 U.S.C.
§§ 1408 and 1409.
The basis for the relief requested herein are, inter alia, 11
U.S.C. §§ 105, 363 and Federal Rules of Bankruptcy
Procedure 2002 and 6004.

BACKGROUND
On April 30, 2018, the Debtor(s) commenced this case by
filing a voluntary petition for relief under Chapter 7 of the
United States Bankruptcy Code (the “Petition Date’).
Mary W. Colon was appointed Chapter 7 Trustee (the
“Trustee”).
The Debtor owns real property, by virtue of a deed,
located at 7051 Country Oaks Court, Irvington, AL 38544,
identified as Mobile County Parcel ID No. 02-38-09-29-0-
000-005.10, and described as:
Lot 9, Country Oaks, according to plat thereof as

recorded Map Book 32, Page 77, in the records in the
Office of the Judge of Probate, Mobile County, Alabama

(hereinafter “the Property’).

Page 2 of 9
Case 18-30400-KKS Doc 40 Filed 08/23/19 Page 3 of 26

10.

Debtor listed the real property, however, he did not
exempt the property, and surrendered the property
accordingly.

The Trustee has accepted an offer to purchase the
Property in the amount of $68,300.00.

This transaction will be a short sale for the lenders.

Short sale approval has been obtained from the first
mortgage lender. The first mortgage holder,
MortgageAmerica, Inc.! has agreed to accept $61,988.97
in exchange for release of its lien against the property. A
copy of the approval letter is attached hereto as Exhibit
“A”.

The second mortgage holder, MortgageAmerica, Inc.? has
agreed to accept $1,316.86 plus interest in full and
complete satisfaction of its mortgage and claim against
the estate. A copy of the payoff letter is attached hereto

as Exhibit “B”.

 

1 The First Mortgage is serviced by Servi Solutions, a division of the Alabama Housing Authority,
who obtained approval of the short sale from HUD as this is an FHA loan.

2 This lien is also serviced by Servi Solutions, a division of the Alabama Housing Authority per the
MERS registration system.

Page 3 of 9
Case 18-30400-KKS Doc 40 Filed 08/23/19 Page 4 of 26

11.

12.

13.

14.

The current offer is the only viable offer presented to the
estate, and one which the estate believes is a fair offer
given the market. Other homes in the area are selling for
a similar price per square foot.
The Trustee is not aware of any other liens on the
Property.
A copy of a proposed settlement statement is attached as
Exhibit “C’.

AUTHORITY TO SELL
Pursuant to §363(b)(1) of the Bankruptcy Code, a trustee,
after notice and hearing, may use, sell or lease property
of the estate other than in the ordinary course of
business. Additionally, pursuant to §363(f) of the
Bankruptcy Code, the trustee may sell property free and
clear of any interest in such property of an entity other
than the estate if (1) permitted under applicable non-
bankruptcy law, (2) the party asserting such interest
consents, (3) the interest is a lien and the purchase price

of the property is greater than the aggregate amount of all

Page 4 of 9
Case 18-30400-KKS Doc 40 Filed 08/23/19 Page 5 of 26

15.

16.

17.

liens on the property, (4) the interest is subject of a bona
fide dispute, or (5) the party asserting the interest could
be compelled, in a legal or equitable proceeding, to
accept a money satisfaction for such interest.

Section 363(f) of the Bankruptcy Code is stated in the
disjunctive. Thus, it is only necessary for the Trustee to
satisfy one of the five conditions of §363(f).

The Trustee avers that she has satisfied section 363(f)(3)
insofar as all lienholders, that being MortgageAmerica,
Inc. have consented to a sale of the property under
section 363(f)(2), and that she should be authorized to
sell the Property free and clear of ail liens, encumbrances
and interests. The Trustee has contemporanecusly filed
a Notice of Intent to Sell (with negative notice) the
aforesaid property free and clear with this Court and
served it upon the creditors and interested parties.
Should the Trustee receive no objection to this Motion or
the contemporaneously filed Notice of Intent to Sell Free

and Clear of All Liens, it is the intent of the Trustee to

Page 5 of 9
Case 18-30400-KKS Doc 40 Filed 08/23/19 Page 6 of 26

18.

19.

submit an Order to this Court authorizing the Trustee to
proceed to close this purchase and distribute the
proceeds according to that outlined in the Notice of Intent
to Sell Free and Clear of All Liens.

CONCLUSION
The Trustee, in the exercise of her business judgment,
believes, and therefore avers, that the proposed sale is in
the best interest of the creditors of the bankruptcy estate
insofar as there is otherwise no equity in the Property, the
Trustee is more familiar with the current market than other
interested parties, and a sale under this motion serves the
best interest of all interested parties, including the
Secured Creditors. The third party purchaser has agreed,
subject to Court approval, to pay to the Trustee the sum
of $68,300.00 in exchange for the Property free and clear
of all liens, encumbrances, or interests.
The estate will receive a buyer’s premium in the
estimated amount of $5,000.00. Should any additional

interest accrue on the 2"! mortgage payoff that cannot be

Page 6 of 9
Case 18-30400-KKS Doc 40 Filed 08/23/19 Page 7 of 26

paid from seller’s funds, the interest will be paid from

buyer’s premium.

WHEREFORE, the Trustee moves for the entry of an
Order substantially in the form attached hereto as Exhibit “D”:
A. Authorizing the sale of the Property to Rife Huckabee free

and clear of all liens, encumbrances, or interests of any
party; and
B. Authorizing the Trustee to take any and all actions and to
execute any and all documents necessary and appropriate
to effectuate and consummate the terms of said sale of the
Property free and clear of all liens, encumbrances, or
interests, including without limitation, executing a deed
conveying the interests of the Debtor(s) or any other party
claiming and interest in the Property to the Purchaser; and
C. Granting the Trustee such other and further relief as is just
and proper.
DATED August 23, 2019.
/S/ Mary W. Colon
MARY W. COLON

Chapter 7 Trustee
Florida Bar No. 0184012

Page 7 of 9
Case 18-30400-KKS Doc 40 Filed 08/23/19 Page 8 of 26

P. O. Box 14596

Tallahassee, FL 32317
Telephone No.: (850) 241-0144
Facsimile: (850) 702-0735

trustee@marycolon.com
CERTIFICATE OF SERVICE

| HEREBY CERTIFY THAT A TRUE AND CORRECT COPY
OF THE FOREGOING has been furnished by U.S. Mail with postage
prepaid to all persons on the Court’s mailing matrix by BK Attorney
Services, LLC d/b/a certificateofservice.com and by Trustee to:

Robert J. Barrett, CEO
MortgageAmerica, Inc.

130 Inverness Plaza #339
Birmingham, AL 35242-4800

John B. Johnson, Registered Agent for
Mortgage America, Inc.

1174 Greystone Crest

Birmingham, AL 35242

Seth Greenhill, Esq.

Attorney for Alabama Housing Finance Authority
Padgett Law Group

6267 Old Water Oak Road, Suite 203
Tallahassee, FL 32312

Seth Greenhill, Esq.

ServiSolutions, a Division of Alabama Housing Finance Authority
Padgett Law Group

6267 Old Water Oak Road, Suite 203

Tallahassee, FL 32312

Page 8 of 9
Case 18-30400-KKS Doc 40 Filed 08/23/19 Page 9 of 26

Kim Hastie, Revenue Commissioner
Mobile County Revenue Commission
3925 Michael Blvd., Suite G

Mobile, AL 36609

and by electronic mail to:

Seth Greenhill, Esq., Attorney for Alabama Housing Finance Authority
at sgreenhill@padgettlaw.net

on August 23, 2019.

/S/ Mary W. Colon
MARY W. COLON

Page 9 of 9
Case 18-30400-KKS Doc 40 Filed 08/23/19 Page 10 of 26

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF FLORIDA
PENSACOLA DIVISION
IN RE: JAMES MICHAEL FREELAND, III CASE NO: 18-30400-KKS

DECLARATION OF MAILING
CERTIFICATE OF SERVICE
Chapter: 7

 

 

On 8/23/2019, | did cause a copy of the following documents, described below,
NOTICE OF INTENT TO SELL PROPERTY OF THE ESTATE
MOTION TO SELL REAL PROPERTY FREE AND CLEAR OF LIENS, ENCUMBRANCES, AND INTERESTS

to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.

| caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.

Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.

DATED: 8/23/2019

ist Mary W. Colon, Chapter 7 Trustee
Mary W. Colon, Chapter 7 Trustee

P O Box 14596
Tallahassee, FL 32317
850 241 0144
Case 18-30400-KKS Doc 40 Filed 08/23/19 Page 11 of 26

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF FLORIDA
PENSACOLA DIVISION

IN RE: JAMES MICHAEL FREELAND, Ill CASE NO: 18-30400-KKS

CERTIFICATE OF SERVICE
DECLARATION OF MAILING

Chapter: 7

 

On 8/23/2019, a copy of the following documents, described below,
NOTICE OF INTENT TO SELL PROPERTY OF THE ESTATE
MOTION TO SELL REAL PROPERTY FREE AND CLEAR OF LIENS, ENCUMBRANCES, AND INTERESTS

were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that | have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to
the best of my knowledge, information, and belief.

DATED: 8/23/2019

SSS

Jay S. Jump

BK Attorney Services, LLC

d/b/a certificateofservice.com, for
Mary W. Colon, Chapter 7 Trustee

P O Box 14596
Tallahassee, FL 32317
Case 18-30400-KKS Doc 40 Filed 08/23/19 Page 12 of 26

PARTIES DESIGNATED AS "EXCLUDE" WERE NOT SERVED VIA USPS FIRST CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

CASE INFO

LABEL MATRIX FOR LOCAL NOTICING

11293

CASE 18-30400-KKS

NORTHERN DISTRICT OF FLORIDA
PENSACOLA

FRI AUG 23 11-21-39 EDT 2019

FORD MOTOR CREDIT COMPANY
P O BOX 62180
COLORADO SPRINGS CO 80962-2180

ACCEPTANCE LOAN COMPANY INC
P O BOX 9189
MOBILE AL 36691-0189

ALABAMA POWER
PO BOX 242
BIRMINGHAM AL 35292-0001

AMSHER COLLECTION SERVICES PC
4524 SOUTHLAKE PKWY
BIRMINGHAM AL 35244-3271

CAPITAL ONE BANK USA NA
PO BOX 71083
CHARLOTTE NC 28272-1083

CHASE
PO BOX 15153
WILMINGTON DE 19886-5153

CREDIT SYSTEMS
PO BOX 1088
ARLINGTON TX 76004-1088

FIRST PREMIER BANK
601 S MINNESOTA AVENUE
SIOUX FALLS SD 57104-4868

ALABAMA HOUSING FINANCE AUTHORITY
PADGETT LAW GROUP

6267 OLD WATER OAK ROAD

SUITE 203

TALLAHASSEE FL 32312-3858

MORTGAGE AMERICA INC
PADGETT LAW GROUP

6267 OLD WATER OAK ROAD
SUITE 203

TALLAHASSEE FL 32312-3858

ALABAMA CENTRAL CREDIT UNION
3601 8TH AVE
BIRMINGHAM AL 35222-3218

ALABAMA POWER COMPANY

ALABAMA POWER CO CO LADONNA AMOS
600 NORTH 18TH STREET BOX 17N-0043
BIRMINGHAM AL 35203-2200

ANESTHESIA SERVICES PC
$1 TACON ST

D

MOBILE AL 36607-3123

CAPITAL ONE BANKKOHLS
PO BOX 3115
MILWAUKEE WI 53201-3115

COMENITY BANKKAY JEWLERY
PO BOX 182273
COLUMBUS OH 43218-2273

DIRECT MANAGEMENT INC
4320 DOWNTOWNER LP S
MOBILE AL 36609-5446

FORD MOTOR CREDIT CO

CO LAWRENCE J BERNARD ESO
480 BUSCH DR

JACKSONVILLE FL 32218-5553

BK GLOBAL REAL ESTATE SERVICES
1095 BROKEN SOUND PARKWAY SUITE 200
BOCA RATON FL 33487-3503

ACCEPTANCE LOAN
3976 B GOVERMENT BLVD
MOBILE AL 36693-4723

ALABAMA CREDIT UNION
3601 8TH AVE
BIRMINGHAM AL 35222-3218

AMERICAN FAMILY CARE
ATTN HEATHER NELSON
PO BOX 734315

DALLAS TX 75373-4315

CAPITAL ONE
PO BOX 30285
SALT LAKE CITY UT 84130-0285

CAPITAL ONE NA

CO BECKET AND LEE LLP
PO BOX 3001

MALVERN PA 19355-0701

COMENITY BANKTORRID
PO BOX 182789
COLUMBUS OH 43218-2789

DIRECTV LLC

BY AMERICAN INFOSOURCE AS AGENT
PO BOX 5008

CAROL STREAM IL 60197-5008

FORD MOTOR CREDIT COMPANY
DEPT 55953

PO BOX 55000

DETROIT MI 48255-2679
Case 18-30400-KKS Doc40 Filed 08/23/19 Page 13 of 26

PARTIES DESIGNATED AS "EXCLUDE" WERE NOT SERVED VIA USPS FIRST CLASS MAIL

PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

GAUTIER FAMILY DENTAL
2808 HWY 90

STE 1

GAUTIER MS 39553-5169

MOBILE SURGERY CENTER
6144 A AIRPORT BLVD
MOBILE AL 36608-3143

QUANTUM3 GROUP LLC AS AGENT FOR
MOMA TRUST LLC

PO BOX 788

KIRKLAND WA 98083-0788

SOUTH MISSISSIPPI COLLECTION
5001 PARK ST
MOSS POINT MS 39563-2733

SYNCHRONY BANKROOMS TO GO
ATTN BANKRUPTCY DEPARTMENT
PO BOX 955060

ORLANDO FL 32896-5060

TD BANK USA

BY AMERICAN INFOSOURCE AS AGENT
PO BOX 248866

OKLAHOMA CITY OK 73124-8866

US BANK
PO BOX 5229
CINCINNATI OH 45201-5229

J STEVEN FORD

WILSON HARRELL FARRINGTON
307 S PALAFOX STREET
PENSACOLA FL 32502-5929

HOLLOWAY CREDIT SOLUTIONS LLC
1286 CARMICHAEL WY
MONTGOMERY AL 36106-3645

NORTH WEST FLORIDA CREDIT UNION
PO BOX 1229
HERNDAS VA 22070

RADIOLOGY ASSO OF MOBILE
6576 AIRPORT BLVD

C2

MOBILE AL 36608-3786

SYNCHRONY BANKBELK

ATTN BANKRUPTCY DEPARTMENT
PO BOX 955060

ORLANDO FL 32896-5060

SYNCHRONY BANKTOYS R US
ATTN BANKRUPTCY DEPARTMENT
PO BOX 955060

ORLANDO FL 32896-5060

THDCBNA
PO BOX 6497
SIOUX FALLS SD 57117-6497

OS BANKACADEMY
PO BOX 108
SAINT LOUIS MO 63166-0108

DEBTOR

JAMES MICHAEL FREELAND ITI
9782 HARLINGTON ST
CANTONMENT FL 32533-4530

LINCOLN FINANCIAL
PO BOX 542000
OMAHA NE 68154-8000

PENSACOLA BAY REALITY
201 E GOVERMENT ST
PENSACOLA FL 32502-6018

SERVI SOLUTION
2000 INTRASTATE PARK DR
MONTGOMERY AL 36109-5421

SYNCHRONY BANKCARE CREDIT
ATTN BANKRUPTCY DEPARTMENT
PO BOX 955060

ORLANDO FL 32896-5060

TD BANK USATARGET
3701 WAYZATA BLVD
MINNEAPOLIS MN 55416-3440

TRANSWORLD SYSTEMS
2235 MERCURY WY 275
SANTA ROSA CA 95407-5463

UNITED STATES TRUSTEE

110 E PARK AVENUE

SUITE 128

TALLAHASSEE FL 32301-7728

MARY W COLON
PO BOX 14596
TALLAHASSEE FL 32317-4596
Case 18-30400-KKS Doc 40 Filed 08/23/19 Page 14 of 26

PRE-FORECLOSURE SALE ADDENDUM
Mortgagee: ALABAMA HOUSING FINANCE AUTHORITY Mortgagee Loan #:
Address of Property: 7051 Country Oak Court, Irvington, AL 36544

Date of Purchase Contract:

Seller: Mary W. Colon, chapter 7 trustee Buyer: Rife Huckabee
Estate of Freeland 18-30400

Seller: Buyer:

Listing Agent: Buyer’s Agent:

Name: Kelly Cummings Name: — Madison Reich

Company: The Cummings Company LLC Company:

Listing Broker: Buyer’s Broker:

Name: Name:

Company: Company:

Escrow Closing Agent: Transaction Facilitator/Negotiator: (if applicable)
Jennifer Kuykendall, Crane Title, Inc. BKGlobal

This Pre-Foreclosure Sale Addendum (“Addendum”’) is given by the Seller(s), Buyer(s), Agent(s),
Broker(s), and Facilitator/Negotiator to the Mortgagee of the mortgage loan secured by the Property
(“Mortgage”) in consideration for the mutual and respective benefits to be derived from the pre-
foreclosure sale of the Property.

NOW, THEREFORE, the Seller(s), Buyer(s), Agent(s), Broker(s), and Facilitator/Negotiator do hereby
represent, warrant and agree under the pains and penalties of perjury, to the best of each signatory's
knowledge and belief, as follows:

(a) The sate of the Property is an “arm's length” transaction, between Seller(s) and Buyer(s) who are
unrelated and unaffiliated by family, marriage, or commercial enterprise. Additionally, the transaction is
characterized by a selling price and other conditions that would prevail in an open market environment
and there are no hidden terms or special understandings that exist between any of the parties involved in
the transaction including, but not limited to the buyer, seller, appraiser, broker, sales agent (including, but
not limited to the listing agent and buyer’s agent), closing agent and mortgagee;

(b) Any relationship or affiliation by family, marriage, or commercial enterprise to the Seller(s) or
Buyer(s) by other parties involved in the sale of the Property has been disclosed to the Mortgagee;

(c) There are no agreements, understandings or contracts between the Seller(s) and Buyer(s) that the
Seller(s) will remain in the Property as tenants or later obtain title or ownership of the Property, except

EXHIBIT

Exhibit "A"

 
Case 18-30400-KKS Doc 40 Filed 08/23/19 Page 15 of 26

that the Sellers(s) are permitted to remain as tenants in the Property for a short term, as is common and
customary in the market but no longer than ninety (90) days, in order to facilitate relocation,

(d) Neither the Sellers(s) nor the Buyer(s) will receive any funds or commissions from the sale of the
Property except that the Seller(s) may receive a payment if it is offered by the Mortgagee, and, if the
payment is made at closing of the sale of the Property, reflected on the HUD-1 Settlement Statement;

(e) There are no agreements, understandings, current or pending higher offers, or contracts relating to the
current sale or subsequent sale of the Property that have not been disclosed to the Mortgagee;

(f) The current sale transaction is a market real estate transaction, and the buyer is making an outright
purchase of real property;

(g) The current sale transaction will be recorded;

(h) All amounts to be paid to any person or entity, including holders of other liens on the Property, in
connection with the pre-foreclosure sale have been disclosed to and approved by the Mortgagee and will
be reflected on the HUD-1 Settlement Statement;

(i) Each signatory understands, agrees and intends that the Mortgagee is relying upon the statements made
in this Addendum as consideration for the reduction of the payoff amount of the Mortgage and agreement
to the sale of the Property;

(j) A signatory who makes a negligent or intentional misrepresentation agrees to indemnify the Mortgagee
for any and all loss resulting from the misrepresentation including, but not limited to, repayment of the
amount of the reduced payoff of the Mortgage;

(k) This Addendum and all representations, warranties and statements made herein will survive the
closing of the pre-foreclosure sale transaction;

(1) Except for the real estate agents and brokers identified in this Addendum, the signatories to this
agreement can only serve in one capacity in order to be in compliance with HUD’s policies on conflicts of
interest and arms-length transactions;

(m) The Listing Agent and Listing Broker certify that the subject property was initially listed in the
Multiple Listing Service (MLS) for a period of 15 calendar days before any offers were cvaluated;

(n) If multiple offers were under consideration at the time the offer was submitted for acceptance, the
Listing Agent and Listing Broker certify that, of all of the offers meeting HUD’s guidelines, this offer
yielded the highcst net return; and

(0) Each signatory certifies that all the information stated herein, as well as any information provided in
the accompaniment herewith, is true and accurate. HUD will prosecute false claims and statements.
Conviction may result in criminal and/or civil penalties.

(18 U.S.C. 1001. 1010. 1012; 31 U.S.C. 3729. 3802)
Case 18-30400-KKS Doc 40 Filed 08/23/19 Page 16 of 26

f
IN WITNESS WHEREOF, | fave subscribed my name this Ae day of Ma , 20 9 :
(Seller’s Signature) By: , Chapter 7 Taser

(Seller’s Signature) By: Mary VW. Colén
€ hraptesr 7 Trustee
IN WITNESS WHEREOF, [ have subscribed my name this day of , 20

 

(Listing Agent’s Signature) By:

IN WITNESS WHEREOF, | have subscribed my name this day of ,20
(Listing Broker’s Signature) By:

IN WITNESS WHEREOF, I have subscribed my name this day of , 20
(Buyer’s Signature) By:

(Buyer's Signature) By:

IN WITNESS WHEREOF, | have subscribed my name this day of , 20
(Buyer’s Agent’s Signature) By:

IN WITNESS WHEREOF, I have subscribed my name this day of , 20
(Buyer’s Broker’s Signature) By:

IN WITNESS WHEREOF, I have subscribed my name this day of , 20
(Transaction Facilitator’s Signature (if applicable)) By:

IN WITNESS WHEREOF, | have subscribed my name this day of , 20

(Escrow Closing Agent’s Signature) By:
Case 18-30400-KKS Doc 40 Filed 08/23/19 Page 17 of 26

Sales Contract Review U. S. Department of Housing and OMB Approval No. 2502-0589
Urban Devetopment (exp. 12/31/2019)
Pre-foreclosure Sale Procedure Office of Housing

Federal Housing Commissioner

Public reporting burden for this collection of information is estimated to average 15 minutes per response, including the time for reviewing instructions,
searching existing data sources, gathering and maintaining the data needed, and completing and reviewing the collection of information. This information is

required to obtain benefits. HUD may not collect this information, and you are not required to complete this form, unless it displays a currently valid OMB
control number.

Section 1064 of the Stewart B. McKinney Homeless Assistance Amendments Act of 1988 authorizes the Secretary to pay an insurance claim that “bridges
the gap” between the fair market value proceeds from the HUD-approved third party sale of a property. The respondents are lenders, counselors, and
homeowners who are attempting to sell their properties prior to foreclosure. The Privacy Act of 1974 pledges assurances of confidentiality to respondents.
HUD generally discloses this data only in response to a Freedom of Information request.

Do not send this form to the above address.

 

 

 

 

 

Mortgagee Contact Person: Phone number: Account/Control No.: FHA Case Number.
LaKesha Cope 334-777-5909 |/13646234 011-6132363-703
Homeowner's Name Property Address:
JAMES M FREELAND III 7051 COUNTRY OAKS CT
Homeowner's Name IRVINGTON AL 36544
LEIGH R FREELAND

 

 

Mortgagee (or HUD) Approval of the Sale Contract is a Pre-Condition of the Sale

 

 

 

 

 

 

 

 

 

 

 

 

Date of Sales Contract: | Date Contract Received by Mortgagee: | Sales Agent & Firm: Phone Number: Sales Commission & Rate
04/05/2019 | 07/05/2019 theCummingsconpary.uc | 201-602-1941/4,098.00 / 6%

Offered By: Address:

Rife Huckabee 2316-C Knollwood Drive

Mobile, AL 36693
Listing Price: Price Offered: Appraised Vatue: BPO/AVM Value: Required Net Sales Estimated Net Sales
Proceeds: Proceeds:

; 70,000.00 ; 68,300.00 | ,70,0000.00 | ; 90,000.00 ; 98,800.00 ; 61,988.97

Approval to Participate Issuance Date: % Estimated Net Sales Proceeds:

05/13/2019 Ceem Cse% (Clea lotner % 886%

 

 

 

The Sales Contract offered by the individuals listed above is:
[V] Accepted [] Rejected (List Reasons below)

The sales contract is rejected for the following reason(s):

LaKesha Cope 07/23/2019

Signature Date

 

 

 

form HUD-90051 (09/2016)
Case 18-30400-KKS Doc 40 Filed 08/23/19 Page 18 of 26

PAYOFF STATEMENT ServiSolutions
7460 Halcyon Pointe Drive.
Suite 200
. Montgomery, AL 36117
duly 01, 2019

TO:

James M Freeland III
Leigh R Freeland:
9782 Harlington St
Cantonment, FL 32533

Loan: 0013646235
Loan Type: Conventional
Property: 7051 Country Oaks CT
Irvington AL 36544
RE; James M Freeland III
Leigh R Freeland

ERE EKCEEEEAE HEE EKER REE MECH EEE KEE REUMW AE RERTE KK

* ONLY CERTIFIED FUNDS WILL BE ACCEPTED FOR THE *

* PAYOFF SHOWN BELOW ON THE CAPTIONED MORTGAGE. *
FIGS OGIO IOI IOI IG IDI ISI a iloek

These figures are good until September 01, 2019
This loan is due for the April 01, 2018 payment.

The ist mortgage unpaid principal balance is: $ 1,222.74
Interest at 5.87500% , 107,82
Late Charge Balance 2.12
Payoff Fax Fee 15.00
Record Satisfaction 4.00

* * * * * TOTAL AMOUNT TO PAY LOAN IN FULL * * * * * $ 1,351.68

Funds received on or after September 01, 2019 2pm CST requires an additional
$.20 interest per Day. This payoff statement will expire on

September 01, 2019. These figures are subject to verification by our office
and may be adjusted if any check or money order previously received is
rejected by the institution upon which it was drawn.

Issuance of this statement does not suspend the contract requirement to
make the mortgage payments when due. A late charge of $ 1.06 will be
assessed 16 days after a current payment is due and should be added to the
payoff total if received after that time. If this property is sold, please
provide the seller's forwarding address below for refund and/or year end
purposes. .

If the property has been sold, please be sure to provide Customer Service
your new mailing address as scon as possible.

Payoff Department

XPO11/MFT

EXHIBIT

Wa

 
Case 18-30400-KKS Doc40 Filed 08/23/19 Page 19 of 26

Tf you prefer to overnight the payoff, you may use the following:
ServiSolutions A Division of AHFA

Attention Payoff Department

7460 Halcyon Pointe Drive Suite 200

Montgomery AL 36117

Our hours of operation are Monday-Friday from 8:00a.m. to 5:00p.m.
Our contact telephone number is 866-339-2432 CS’ or 855-819-8081 PT

By email payoffs@servsol.com .
Case 18-30400-KKS Doc 40 Filed 08/23/19 Page 20 of 26

 

A. Settlement Statement (HUD-1)

OMB Approval No. 2502-0265

8. Type of Loan

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1.JFHA 2.[]RHs 3.[[] Conv. unins. |? Fie Number Le icillieadiaih 6. Morigage Insurance Case Number
4, CL VA 5, CL] Conv. Ins.
C, Note: This form is furnished to give you a statement of actual settlement costs. Amounts paid to and by the settlement agents are shown, Items marked
“(p.0.c)" were paid outside the closing; they are shown here for informational purposes and are not included in the totals
D. Name & Address of Borrower: E. Name & Address of Seller: F. Name & Address of Lender:
Rife Huckabee Marybeth W. Colon, as Trustee for Bankruptcy Estate of CASH
James Michael Freeland, III
G. Property Location: H. Settlement Agent: |. Settlement Date: 10/09/2019
7051 Country Oaks Court Crane Title, Inc. Disbursement Date: 10/09/2019
Irvington, AL 36544 2607 Dauphin Street, Suite C, Mobile, AL 36606
Place of Settlement: TitleExpress
2607 Dauphin Street, Suite C, Mobile, AL 36606 Printed 08/16/2019 at 8:41 am
by JK
100. Gross Amount Due from Borrower 400. Gross Amount Due to Seller
101. Contract sales price 68,300.00] | 401. Contract sales price 68,300.00
102. Personal property 402. Personal property
103. Settlement charges to borrower (line 1400) 6,511.50] | 403.
104. 404.
105. 405.
Adjustments for items paid by seller in advance Adjustments for items paid by seller in advance
106. — Citytown taxes to 406. — Citytown taxes to
107. County taxes to 407. County taxes to
108. Assessments to 408. Assessments to
109. 409.
110. 410.
111. 41.
112. 412.
120. Gross Amount Due from Borrower 74,811.50 | | 420. Gross Amount Due to Seller 68,300.00
200. Amounts Paid by orin Behalf of Borrower 500. Reductions In Amount Due to Seller
201. Deposit or eamest money 640.00] | 501. Excess deposit (see instructions)
202. Principal amount of new loan(s) 502. Settlement charges to seller (line 1400) 4,984.90
203. Existing loan(s) taken subject to 503. Existing loan(s) taken subject to
204. 504, Payoff of first mortgage loan #0013646234 to 61,988.97
ServiSolutions
205. 505. Payoff of second mortgage loan #0013646235 to 1,316.86
ServiSolutions
206. 506,
207. 507. Disbursed as proceeds ($640.00)
208. 508,
209. 509.
Adjustments for items unpaid by seller Adjustments for items unpaid by seller
210. — CityAown taxes to 510.  Citytown taxes to
211. County taxes 10/01/2019 to 10/09/2019 9.27] | 511. County taxes 10/01/2019 to 10/09/2019 9.27
212. Assessments to 512. Assessments to
213. 513.
214 514.
215. §15.
216. 516.
217. 517.
218. 518.
219. §19,
220. ‘Total Paid by/for Borrower 649.27 | | 520. Total Reduction Amount Due Seller 68,300.00
300. Cash at Settlement from/to Borrower 600. Cash at Settlement to/from Seller
301, Gross amount due from borrower (line 120) 74,811.50] | 601, Gross amount due to seller (line 420) 68,300.00
302. Less amounts paid by/for borrower (line 220) 649.27] | 602. Less reductions in amount due seller (line 520) 68,300.00
303. Cash [Xx] From [_] To Borrower 74,162.23|| 603. cash [x] to — [_] FromSeller 0.00

 

 

 

 

 

 

Ta Pits Reporing Burien for tus cotection of ifornsion m erisnmed at 55 Aurken pel Tenure (or GaNecing Tevewing and reporing ine Osta Ths agency ‘may Fol cobect ina WPormanion, and you are nek Tequred fo Compete

this form, unless @ dapiays & curently vad OMB contra! numiber No confidentalty in assured, this disclosure m mandatory. This designed to provide the parties to a RESPA covered transaction with information during the

settlement process

 

Previous editions are obsolete

Page 1 of 3

 
Case 18-30400-KKS Doc 40_ Filed 08/23/19 eee 21 of 26
SUG uru la Sie ue ee

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

700, Total Real Estate Broker Fees $4,098,00 Paid From Paid From
Division of commission (line 700) as follows: Borrower's Seller's

701. $2,732.00 to Cummings Company, LLC Funds at Funds at

702. $1,366.00 to RE/MAX Partners Settlement Settlement

703. Commission paid at settlement 4,098.00)

800. Items Payable in Connection with Loan

801. Our origination charge (Includes Origination Point 0.000% or $0.00) $ (from GFE #1)

802. Your credit or charge (points) for the specific interest rate chosen $ (from GFE #2)

803. Your adjusted origination charges (from GFE A)

604. _ Appraisal fee to (from GFE #3)

805. Credit report to (from GFE #3)

806. Tax service to (from GFE #3)

807. Flood certification to (from GFE #3)

808. to

 

 

 

 

902.
903.
904,

Lender to be Paid in Advance

insurance
Homeowner's insurance

to (from
months to GFE
months to GFE #11
months to GFE #11

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1000. Reserves Deposited with Lender
1001, Initial deposit for your escrow account (from GFE #9)
1002. Homeowner's insurance months @ $ /month
1003. Mortgage insurance months @ $ imonth
1004. Property taxes months @ $ /month
1005. County taxes months @ $ 35.33/month $
1006. Assessments months @ $ 0.00/month $
1007. Aggregate Adjustment $
1100, Title Charges
1101. Title services and lender's title insurance $ (from GFE #4) 275.00
1102. Settlement or closing fee to Crane Title, Inc. $275.00
1103. Owner's title insurance - First American Title Insurance Company $ (from GFE ) 423.00
1104. Lender's title insurance - First American Title Insurance Company $
1105. Lender's title policy limit $0.00 Lender's Policy
1106. Owner's title policy limit $68,300.00 Owner's Policy
1107. Agent's portion of the total title insurance premium $350.40
to Crane Title, Inc.
1108. Underwriter's portion of the total title insurance premium $72.60
to First American Title Insurance Company
1109. Deed Preparation to Crane Legal, P.C. 100.00
1110. Wire Fee (2) to Crane Title, Inc. 40.00
1111. Closing Coordination to Ocean Title, LLC 395.00
1200, Government Recording and Transfer Charges
1201. Government recording charges $ (from GFE #7) 18.00
1202. Deed $18.00 Mortgage $ Release $
1203. Transfer taxes $ (from GFE #8) 68.50)
1204. City/County tax/stamps Deed $ Mortgage $
1205. State Tax/Stamps Deed $68.50 Mortgage $
1206. Deed $ Mortgage $ Release $
1207. E recording 10.00

 

 

 

 

1300.
1

1302.
1303.
1304.

1306.

Additional Settlement
that you can

Pest Inspection
Buyers.

2019 Property Taxes

1400. Total Settlement Charges
“Paid outside of closing by (B)orrower, (S)eller, (L)ender, (I)nvestor, Bro(K}er. **Credit by lender shown on page 1. ***Credit by seller shown on page 1.

to

to Pest Control

to W. as Trustee for the
to RE/MAX Partners

to Mobile Revenue Commission

(enter on lines 103, Section J and 502, Section K)

 

| 6,514.50 | 4,984.90

 

Previous editions are obsolete

Page 2 of 3

HUD-1
Case 18-30400-KKS Doc 40_ Filed 08/23/19 Page 22 of 26

STE trceaee
HUD CERTIFICATION OF BUYER AND SELLER
[have carefully reviewed the HUD-1 Settlement Statement and to the basi of my knowladge and belief, itis a true and accurate statement of all receipis and
disbursements made on my account of by me in this transaction. | further certify thai | have received a copy of the HUD-1 Settlement Statement.

 

Ses

3
E
z

MARYBETH W. COLON, AS TRUSTEE FOR BANKRUPTCY ESTATE
OF JAMES MICHAEL FREELAND, Ill

 

Big ears casg
The HUD-1 Settlement Statement which | havo prepared is a true and accurate account of this transaction. | have caused or will cause the funds to be
disbursed in accordance with this statement.

 

 

SETTLEMENT AGENT DATE

WARNING: IT IS A CRIME TO KNOWINGLY MAKE FALSE STATEMENTS TO THE UNITED STATES ON THIS OR ANY SIMILAR FORM. PENALTIES UPON
CONVICTION CAN INCLUDE A FINE AND IMPRISONMENT. FOR DETAILS SEE TITLE 18: U.S. CODE SECTION 1001 AND SECTION 1010,

 

Previous editions are obsolete Page 3 of 3 HUD-1
Case 18-30400-KKS Doc 40 Filed 08/23/19 Page 23 of 26

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF FLORIDA
PENSACOLA DIVISION

IN RE: CASE NO: 18-30400-KKS
CHAPTER 7
JAMES MICHAEL FREELAND Il,

Debtor(s),
|

ORDER GRANTING MOTION TO SELL
REAL PROPERTY FREE AND CLEAR OF LIENS,

ENCUMBRANCES AND INTERESTS (Doc. )

UPON CONSIDERATION of the Motion to Sell Real Property

Free and Clear of Liens, Encumbrances and Interests (Doc. ),

Trustee filing her Notice of Intent to Sell Property of the Estate (Doc. )

with a twenty-one day negative notice, there being no opposition filed

or asserted thereto, it appearing that adequate Notice of the Motion

has been provided and that no further notice of said Motion need be

given, a hearing was held on 09/25/19, and the Court having

determined that the relief sought in the Motion should be granted and

as further evidenced by the Notice of Intent to Sell Real Property of

EXHIBIT

Page 1 of 4 npr

 
Case 18-30400-KKS Doc 40 Filed 08/23/19 Page 24 of 26

the Estate, it is,

ORDERED, as follows:

1. The Motion is GRANTED and the Notice of Intent to Sell

is APPROVED.

2. The Trustee is authorized to sell the Property, located at
7051 Country Oaks Court, Irvington, AL 38544, identified as Mobile
County Parcel ID No. 02-38-09-29-0-000-005.10and described as:

Lot 9, Country Oaks, according to plat thereof as recorded Map

Book 32, Page 77, in the records in the Office of the Judge of

Probate, Mobile County, Alabama
free and clear of all liens, encumbrances, or interests of any party,
including that of MortgageAmerica, Inc., pursuant to those terms
identified in the Notice of Intent to Sell, for the price of $68,300.00 to
the current purchaser, and it is further

3. | The Trustee is authorized to take any and all actions and
to execute any and all documents necessary and appropriate to
effectuate and consummate the terms of said sale of the Property
free and clear of all liens, encumbrances, or interests, including

without limitation, executing a deed conveying the interests of the

Page 2 of 4
Case 18-30400-KKS Doc40 Filed 08/23/19 Page 25 of 26

Debtor(s), or any other party claiming an interest in the Property, to
the current purchaser.

4. The Trustee is authorized to pay certain expenses from
the proceeds of the sale and that the proceeds shall be disbursed in
the following manner:

a. Payoff to First Mortgage Holder, MortgageAmerica
estimated to be $61,988.97.

b. Payoff to Second Mortgage Holder,
MortgageAmerica estimated to be $1,316.86.

c. Brokerage Fees (6% of the sales price) - $4,098.00

d. Property taxes for 2019 - $423.90

e. Owner’s title insurance - $423.00

f. Wire Fees (2) - $40.00

g. The Estate will receive a buyer's premium
estimated to be $5,000.00.

5. The Trustee upon execution and closing of the sale, shall

deposit the buyer’s premium into the estate to be administered by the

Page 3 of 4
Case 18-30400-KKS Doc40 Filed 08/23/19 Page 26 of 26

Trustee on behalf of the unsecured creditors in accordance with
Bankruptcy procedure.

DONE AND ORDERED on

 

Karen K. Specie
U.S. Bankruptcy Judge

Order Prepared by:
Mary W. Colén, Esq.

Trustee Mary Col6én is directed to serve a copy of this order on

interested parties and file a proof of service within three (3) days of
entry of the order.

Page 4 of 4
